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1                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA
2

3      UNITED STATES OF AMERICA,
                                                       Criminal Action
4                     Plaintiff,                       No. 1:21-cr-0386

5              vs.                                     Washington, DC
                                                       September 17, 2021
6      WILLIAM BLAUSER, JR., et al.,
                                                       10:37 a.m.
7                  Defendants.
       ____________________________/
8

9                        TRANSCRIPT OF STATUS CONFERENCE
                     BEFORE THE HONORABLE TREVOR N. McFADDEN
10                        UNITED STATES DISTRICT JUDGE

11     APPEARANCES:
       For the Government:            AMANDA FRETTO
12                                      U.S. Attorney's Office for the
                                        District of Columbia
13                                      555 4th Street, NW
                                        Washington, DC 20530
14
                                      JAMES PETERSON
15                                      U.S. Department of Justice-CRM
                                        1331 F Street, NW, 6th Floor
16                                      Washington, DC 20530

17     For Defendant Blauser:         RAMMY BARBARI
                                      DAVID BENOWITZ (via telephone)
18                                      Price Benowitz, LLP
                                        409 Seventh Street, NW
19                                      Washington, DC 20004

20     For Defendant Bauer:           PAULINE BAUER, Pro Se

21     Standby Counsel for
       Defendant Bauer:               CARMEN HERNANDEZ
22                                      7166 Mink Hollow Road
                                        Highland, MD 20777
23
       Court Reporter:                JEFF HOOK
24                                      United States District Court
                                        333 Constitution Avenue, NW
25                                      Washington, DC 20001
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1                             P R O C E E D I N G S

2                  DEPUTY CLERK:    This is criminal case 21-386,

3      United States of America v. William Blauser, Jr. and Pauline

4      Bauer.   Counsel, please come forward to identify yourselves

5      for the record.

6                  MS. FRETTO:    Good morning, Your Honor.       Amanda

7      Fretto on behalf of the United States.

8                  THE COURT:    Good morning, Ms. Fretto.

9                  MR. PETERSON:    Good morning, Your Honor.       May it

10     please the Court, Jim Peterson on behalf of the Government.

11                 THE COURT:    Good morning, Mr. Peterson.

12                 MR. BARBARI:    Good morning, Your Honor.       Rammy

13     Barbari on behalf of Mr. Blauser who is appearing by

14     telephone.    I believe David Benowitz, also counsel, is

15     appearing by telephone.

16                 THE COURT:    Good morning, Mr. Barbari.

17                 MR. BENOWITZ:    And good morning, Your Honor.

18     David Benowitz appearing by telephone.

19                 THE COURT:    Good morning, Mr. Benowitz.

20                 MS. HERNANDEZ:     Good morning, Your Honor.      Carmen

21     Hernandez, I'm standby counsel for Ms. Bauer who is in the

22     back of the courtroom.

23                 THE COURT:    Good morning, Ms. Hernandez.

24                 Ms. Bauer, you're supposed to be up here, ma'am.

25                 DEFENDANT BAUER:     I'm entering a special
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1      appearance, Your Honor.      Pauline --

2                  THE COURT:    No, sir, you stay back.

3                  DEFENDANT BAUER:     -- from the house of Bauer, and

4      under my constitutional rights I have a choosing of counsel

5      of my choice under amendment number six.

6                  THE COURT:    All right.    Ma'am, you may have a

7      seat.

8                  DEFENDANT BAUER:     I would like to admit Mr. Robert

9      Lee from the house of Lawrence, please, as counsel of my

10     choice.

11                 THE COURT:    That motion is denied, ma'am.       You may

12     sit down.    Before the Court is Ms. Bauer's motion to

13     dismiss --

14                 DEFENDANT BAUER:     Under Marbury v. Madison --

15                 THE COURT:    Ma'am, sit down now, please.

16                 DEFENDANT BAUER:     -- anything repugnant to the

17     Constitution is null and void.

18                 THE COURT:    The Court has considered Ms. Bauer's

19     motion to dismiss filed on September 1st.          The motion

20     presents many loosely organized arguments, many of which are

21     not legal in nature, for why this Court has no authority

22     over her.    These arguments can be boiled down to the

23     following proposition:      That she is a so called sovereign

24     citizen answerable only to herself, not to any other legal

25     authority, including this Court.        Federal law clearly
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1      rejects that notion.      This Court plainly has jurisdiction

2      over this case.     18 U.S.C. 3231 grants federal courts

3      original jurisdiction over all offenses against the laws of

4      the United States.      She's charged with five federal

5      crimes --

6                  DEFENDANT BAUER:     Objection, Your Honor.

7                  THE COURT:    Ma'am, please sit down.      She's charged

8      with five federal crimes, meaning she is subject to this

9      Court's jurisdiction under that statute.         Moreover, federal

10     courts are unanimous that, as Judge Friedrich said two years

11     ago, claims based on sovereign citizen theories are

12     frivolous.    That's from Charles v. Parker, 2019 U.S. Dist.

13     LEXIS 48435 from March 21st, 2019 from this district.             The

14     Government's opposition to Ms. Bauer's motion quotes much of

15     the relevant case law.

16                 The Court finds noteworthy the following quote

17     from the Seventh Circuit on this point.         That court said,

18     "Regardless of an individual's claimed status of descent, be

19     it as a sovereign citizen, a secured-party creditor or a

20     flesh-and-blood human being, that person is not beyond the

21     jurisdiction of the courts.       These theories should be

22     rejected summarily, however they are presented."           That's

23     from United States v. Benabe, 654 F.3d 753 from the Seventh

24     Circuit in 2011.

25                 The Court agrees with that recommendation and
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1      joins the various federal courts that have rejected

2      summarily the theories presented by Ms. Bauer.          That motion

3      is therefore denied.

4                  Ms. Fretto, where do things stand?

5                  MS. FRETTO:    Good morning, Your Honor.       Today the

6      Government would like to present two basic points.            First,

7      in both cases, the Government will be requesting a

8      continuance.    We'll be requesting 60 days as well as

9      exclusion of time.      And we're asking the Court to make

10     findings under the ends of justice provision pursuant to 18

11     U.S.C. section 3161(h)(7)(B).       Before the Court is also the

12     Government's motion to revoke pretrial conditions for

13     Ms. Bauer in light of her noncompliance.

14                 DEFENDANT BAUER:     Objection.

15                 THE COURT:    Ma'am, you'll have an opportunity to

16     speak.   Please sit down.

17                 You're seeking 60 days, Ms. Fretto?

18                 MS. FRETTO:    Yes, Your Honor.

19                 THE COURT:    All right.    And so I read your status,

20     it was a little unclear to me about when you think things

21     are actually going to be up and available for attorneys.

22                 MS. FRETTO:    Yes, Your Honor.     So at this point,

23     we have made additional documents available via USAfx until

24     defense counsel has access to the database.          We are

25     continuing to provide updates to the Court, and I believe
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1      that we will be providing an additional status update to the

2      Court in the next two to four weeks.         So that way, the Court

3      is apprised of all of the incremental steps that we're

4      taking towards getting that database up and running and

5      available to the defense.

6                  THE COURT:    So I'm still not hearing a -- what

7      you're saying is you don't know?

8                  MS. FRETTO:    At this point I don't think that we

9      have a date certain, however we are coming closer to that.

10     We've already ingested a large volume of data into the

11     database, and we are working to get access for defense

12     counsel.    It's my understanding that that access should

13     happen at some point this year, however the Government does

14     not have a date certain.       We certainly will provide the

15     Court with a detailed status update in the next two to four

16     weeks.

17                 THE COURT:    Okay.   Are you in plea negotiations

18     with either of the parties in this case?

19                 MS. FRETTO:    Yes, Your Honor.     In fact, we

20     communicated with counsel for Mr. Blauser.          We're continuing

21     those negotiations.      We're requesting 60 days, and we do

22     anticipate that within the next 60 days we should be closer

23     to being able to extend a formal plea offer for their

24     consideration, and either acceptance or denial of that plea

25     offer.   At this point, we have not learned from Ms. Bauer
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1      whether she is interested in a plea offer.

2                  THE COURT:    So it sounds like you haven't made a

3      plea offer to either party?

4                  MS. FRETTO:    That's correct, Your Honor.

5      However -- we had hoped to already extend a plea offer to

6      Mr. Blauser, however we have additional work to do and we

7      hope to get that done within the next 60 days.

8                  THE COURT:    All right.    This feels like it's

9      lagging here.     I mean, this case was brought in in June.       I

10     don't understand why there aren't plea offers out if you

11     want to make one.

12                 MS. FRETTO:    Your Honor, there is an additional

13     step that the Government would like to take before we make a

14     formal plea offer to Mr. Blauser.        If the Court would like

15     to hear that further, we would ask that the parties approach

16     ex parte.

17                 THE COURT:    Well, I don't think we have those

18     little phones up.     I don't think that's going to be

19     necessary.    But we need to move faster than we have to date

20     now.

21                 MS. FRETTO:    Yes, Your Honor, we understand and we

22     will do so.

23                 THE COURT:    Okay.   Mr. Barbari, what's your

24     position?

25                 MR. BARBARI:    Your Honor, the Government's
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1      representations to the Court are correct.          We are in

2      communication with them about negotiations, and we do not

3      object to the continuance for at least -- for the 30 to 60

4      days.   I think 60 days is fine with us.

5                  THE COURT:    And you're willing to toll?

6                  MR. BARBARI:    Yes, Your Honor.     I've spoken with

7      Mr. Blauser, and we are willing to toll Speedy Trial through

8      that next date.

9                  THE COURT:    All right.    Ms. Bauer, do you wish to

10     be heard?

11                 DEFENDANT BAUER:     Yes, sir.

12                 THE COURT:    So ma'am, the specific question right

13     here is whether we should continue the case and come back in

14     about two months.

15                 DEFENDANT BAUER:     I would like to settle this

16     matter today before the Court, sir.         They've had nine months

17     in this dog and pony show.       What exculpatory evidence was

18     offered to the grand jury for the indictment, the true bill,

19     the marine contract?      What evidence under Brady v. Maryland

20     was not presented to them?       Was it not presented that the

21     Capitol Police were leading people into the building?             I

22     have a picture of that, and you have put it on my PACER

23     account.

24                 Was there not exculpatory evidence presented to

25     the grand jury for this indictment of the Capitol Police
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1      saying, "Protest, do not destroy; protest, do not destroy"?

2      These videos are available, they're out there to the public.

3      Under a constitutional court, there must be a corpus

4      delicti.    There is no corpus delicti.       I did no harm, I did

5      no damage.    A dead entity cannot be a victim.

6                  THE COURT:    All right.    So am I understanding

7      correctly that you -- it sounds like you want to resolve

8      this as quickly as possible?

9                  DEFENDANT BAUER:      Yes, sir.

10                 THE COURT:    And you're not comfortable with

11     waiting 60 days?

12                 DEFENDANT BAUER:      That is correct, sir.

13                 THE COURT:    Okay.

14                 DEFENDANT BAUER:      And as far as the pretrial

15     revocation, I gave my address the last time I was here in

16     court.

17                 THE COURT:    We'll deal with that in just a minute.

18     I do want to hear from you on that, but let's deal with one

19     thing at a time.

20                 So I think -- I certainly understand Ms. Bauer's

21     concern about this dragging on.        I think what we'll do is

22     come back in about a month instead and --

23                 DEFENDANT BAUER:      Sir, I have a business to run,

24     and every time I come down here it's a two-day event.             I

25     have to close my business or I have to hire more help.            And
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1       I don't have any help, because everyone is getting

2       unemployment and no one wants to work.         Do you have any idea

3       how hard it is and how much of an inconvenience it is, and

4       how much I'm being deprived of life, liberty and the pursuit

5       of happiness right now?

6                   THE COURT:    All right, ma'am.     We will deal with

7       that in a moment.

8                   DEFENDANT BAUER:      How do you arrest people without

9       evidence?    How do they not have the evidence?

10                  THE COURT:    Thank you, ma'am.     You may have a seat

11      now.   I'm looking at Friday, October 29th at 2:00 p.m.

12                  Ms. Fretto, are you available then?

13                  MS. FRETTO:    Yes, Your Honor.

14                  THE COURT:    Mr. Barbari, are you available then?

15                  MR. BARBARI:    We are, Your Honor.

16                  THE COURT:    All right.      Ms. Hernandez, are you

17      available then?

18                  MS. HERNANDEZ:    Yes, Your Honor.     I have a

19      3:00 p.m. in front of Judge Moss, but I should be okay

20      unless the Court is planning to have a lengthy hearing.

21                  THE COURT:    Okay.   And Ms. Bauer, are you

22      available on Friday, October 29th at 2:00 p.m.?

23                  DEFENDANT BAUER:      Sure.

24                  THE COURT:    Okay.   We'll set this for a continued

25      status conference on Friday, October 29th at 2:00 p.m.            I do
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1       think it's appropriate to toll --

2                   DEFENDANT BAUER:     Your Honor, can I --

3                   THE COURT:   -- the Speedy Trial clock.       Ma'am --

4                   DEFENDANT BAUER:     Can I raise an objection right

5       now?

6                   THE COURT:   You just had an opportunity to talk.

7       You will have an opportunity --

8                   DEFENDANT BAUER:     Can I please?    This is --

9                   THE COURT:   Ma'am --

10                  DEFENDANT BAUER:     -- a challenge of jurisdiction

11      objection.

12                  THE COURT:   Okay.

13                  DEFENDANT BAUER:     You are challenging me to --

14                  THE COURT:   Ma'am, please sit down.

15                  DEFENDANT BAUER:     You're challenging me with case

16      law, sir.    I have unrebutted from the secretary of state --

17                  THE COURT:   Ma'am, I'll give you an opportunity to

18      speak in just a moment.

19                  DEFENDANT BAUER:     -- and the prosecuting attorney.

20      I have an unrebutted affidavit of repudiation removing me

21      from citizenship under the 14th Amendment where it made us

22      all slaves.    I have a deed of reconveyance where I took back

23      the title of my, all capital letters, vessel.          I have my

24      patent of nativity where --

25                  THE COURT:   Ma'am, ma'am, I need to talk right
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1       now.   I will give you an opportunity to speak again in a few

2       minutes.

3                  So we'll set this for a status conference on

4       October 29th at 2:00 p.m.      I do think it's appropriate to

5       toll the Speedy Trial clock in light of the ongoing

6       discovery that is being produced to counsel, and the various

7       motions that are getting filed in this case.          Therefore, I

8       find that the interests of justice outweigh the interests of

9       the defendants and the public in a speedy trial to the

10      extent that we are waiving -- or tolling the Speedy Trial

11      clock until that next hearing.

12                 So Ms. Hernandez, if you could approach, ma'am.           I

13      think I read your concerns, one, about kind of you getting

14      discovery but are not able to provide it to Ms. Bauer yet

15      because she hasn't signed the form.        And secondly, you are

16      interested in filing a motion to dismiss on the obstruction

17      charge, is that correct?

18                 MS. HERNANDEZ:     Correct, but I have no authority

19      from Ms. Bauer to do that.

20                 THE COURT:    All right.    Anything else we should

21      discuss?

22                 MS. HERNANDEZ:     The Court should understand

23      there's little communication between Ms. Bauer and myself.

24      And she has asked that I be ceased and -- I think she filed

25      a motion for me to cease and desist.        So as long as the
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1       Court continues to order me to remain in the case, I will.

2                  THE COURT:    Yes, I'd like you to remain.        So

3       Ms. Bauer, as I think you know, the Government is providing

4       a lot of discovery about this case, some of which I think

5       you've received, other parts of which they want you to sign

6       a form saying that you are not going to publicly release it.

7                  Are you willing to sign that form, ma'am?

8                  DEFENDANT BAUER:      No, sir.   That would be a tacit

9       agreement, and that would bring me back into the water and I

10      have put myself on the land.

11                 THE COURT:    Ma'am, if you're not willing to sign

12      it, that's fine.

13                 DEFENDANT BAUER:      It also doesn't give me access

14      or my co-counsel access to any of the files, only

15      Ms. Hernandez.    And that is trying to get me to contract.

16      Governments are instituted among men deriving their just

17      powers from the consent of the governed.

18                 THE COURT:    Okay.    So the other issue I wanted to

19      talk with you about is this motion to dismiss that

20      Ms. Hernandez wants to file.       Frankly, it's a -- I have not

21      looked into this issue, but I know that other judges in this

22      courthouse have been raising concerns about whether this

23      obstruction of justice count is appropriate.

24                 DEFENDANT BAUER:      Well, yes.

25                 THE COURT:    Would you like her to file that on
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1       your behalf?

2                   DEFENDANT BAUER:     No, I would not.     I'll file my

3       own motion, thank you.

4                   THE COURT:   Okay.

5                   DEFENDANT BAUER:     And I would like to ask this to

6       be dismissed today on that count of obstruction of justice.

7       If this was an official proceeding, why was AOC six blocks

8       away?   If it was a -- if it was an official proceeding, then

9       we can just declare anything an official proceeding?              I

10      mean, think about this for a minute.

11                  THE COURT:   So ma'am, it looks like you have a

12      number of documents there.       If you'd like to submit them,

13      I'm happy to consider that.       I know you have other

14      business you need --

15                  DEFENDANT BAUER:     I was not the first person into

16      the Capitol.    I did not dismiss anything, and they don't

17      have proof of that.      They don't even have a witness

18      available for that.

19                  THE COURT:   So --

20                  DEFENDANT BAUER:     Under the rules, they have to

21      have a witness.

22                  THE COURT:   Ma'am, I'm going to ask you to sit

23      down now.

24                  DEFENDANT BAUER:     Sir, can I please just reiterate

25      on my challenge of jurisdiction here?
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1                  THE COURT:    How long is it going to take?

2                  DEFENDANT BAUER:      Okay, I have never claimed to be

3       a sovereign citizen.     I am not a sovereign citizen.        I am

4       not a citizen.

5                  THE COURT:    All right.    Ma'am, I need you --

6                  DEFENDANT BAUER:      I am one of we the people, the

7       creator of government.      This is Constitution Day, I do not

8       agree to a bar court.

9                  THE COURT:    Okay.    Thank you, ma'am.     If you could

10      sit down now, please.

11                 Ms. Schuck, you're here from Pretrial Services.

12      Can you give me the report on Ms. Bauer's pretrial release

13      status.

14                 MS. SCHUCK:     Good morning, Your Honor.      Christine

15      Schuck, Pretrial Services.       Pretrial Services is requesting

16      that Ms. Bauer be removed from all supervision programs

17      because she is not amenable to supervision.         She has last

18      reported to the Western District of Pennsylvania, who's

19      doing courtesy supervision for us, on the 30th of June.           She

20      has not verified her address with the Western District of

21      Pennsylvania.    She has not surrendered her passport to the

22      Western District of Pennsylvania.        And she has not verified

23      her address.    And when they attempted to do what they call a

24      home assessment on the 12th of August, she refused to allow

25      them to conduct that tour.       She is not amenable to
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1       supervision, so we're requesting that she be removed.

2                  THE COURT:    Okay.    And specifically you said she's

3       supposed to be reporting by telephone is that?

4                  MS. SCHUCK:     Yes, Your Honor, weekly by phone.

5                  THE COURT:    Weekly?

6                  MS. SCHUCK:     Yes.

7                  THE COURT:    And the last time was in June?

8                  MS. SCHUCK:     June 30th.

9                  THE COURT:    Okay.    Thank you, ma'am.

10                 Ms. Fretto, anything you want to add to your

11      motion to revoke?

12                 MS. FRETTO:     Your Honor, we'll submit on

13      everything in the Government's motion to revoke as I believe

14      it contains all the updated information.         To the extent it's

15      not clear, it is our understanding that Ms. Bauer was

16      supposed to report weekly.        However, she's only done so

17      twice since supervision began.

18                 DEFENDANT BAUER:       Objection.

19                 THE COURT:    Okay.    Ma'am, I'd love to hear from

20      you on this.    So the Government is suggesting that you have

21      not followed my directions, you've not allowed the Pretrial

22      Services to tour your home, and you've not been in contact

23      with the Probation Office.        If you'd approach and --

24                 DEFENDANT BAUER:       Wouldn't that be agreeing to a

25      tacit agreement, sir?
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                                                                          17

1                  THE COURT:    Ma'am, if you could approach the

2       podium here so we can hear you.

3                  DEFENDANT BAUER:      Sir, I have a right to my

4       self-determination.     I'm presumed innocent until proven

5       guilty.   I do not want to agree to any tacit agreements that

6       puts me back into the water.       I have put myself on the land,

7       sir, okay.    I am not under the jurisdiction of this Court.

8       I am here by special appearance.         You invited me here, I am

9       here.

10                 THE COURT:    Okay.    So am I correct in

11      understanding --

12                 DEFENDANT BAUER:      I did give my address the last

13      time I was here.     The court reporter came over and asked me

14      for it also.    I stood right here and gave my address.

15                 THE COURT:    I remember that.

16                 DEFENDANT BAUER:      Okay.   And I told you my

17      passport is missing.     I do not, on my search warrant, have a

18      list of what they took.      Therefore, what they took they

19      stole from my house where I inhabit.        They are telling me

20      that I didn't do any of this.       They are lying right here in

21      front of the Court.     You know for a fact that I did do that.

22                 THE COURT:    So ma'am, I think the main concerns

23      I've heard are --

24                 DEFENDANT BAUER:      No one contacted me to do a

25      virtual of my place where I inhabit.        They showed up without
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1       any knowledge of me coming -- or them telling me they were

2       coming.   I was at work.     I am not leaving my work, shutting

3       my business down to go do some kind of a tour of my home,

4       which is an invasion of my rights.

5                  THE COURT:    Okay.    And --

6                  DEFENDANT BAUER:      Also, sir, they should not be

7       able to lie about my credibility.        The FBI has been watching

8       me ever since day one.      Don't tell me they haven't, I know

9       they have, okay.     They know where my home is.       They know

10      where I am at 24 hours a day.       I am at my restaurant 14 to

11      15 hours a day, and when I'm not there I don't want to be

12      around people.    I am not a danger to society, sir.         For five

13      months they let me run around without arresting me.           I am an

14      asset to my community.      I have letters to prove it.

15                 THE COURT:    Ma'am --

16                 DEFENDANT BAUER:      I also have two affidavits that

17      I would like to give you today from sworn witnesses that

18      were there on January 6th.

19                 THE COURT:    All right.    Ma'am, am I correct in

20      understanding that you've not been in contact with the

21      Probation Office?

22                 DEFENDANT BAUER:      No, sir, I don't want to agree

23      to a tacit agreement which puts me back into the water, sir.

24                 THE COURT:    Okay.    Thank you, ma'am, you may have

25      a seat.
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1                  Ms. Hernandez, is there anything you wish to add

2       to what Ms. Bauer has said?

3                  MS. HERNANDEZ:     Your Honor, I would oppose on her

4       behalf any motion to revoke.       None of the charges -- first

5       of all, as the Court well knows, the Bail Reform Act

6       requires the Court to impose the least restrictive

7       conditions.    As she has stated, she runs a restaurant in

8       this town, she's there 14 hours a week (sic).          She's showed

9       up in court every time the Court has ordered her, so there

10      should be no concern about her failure to appear.          And

11      she has -- and none of the charges which she's charged with

12      create a presumption that -- of dangerousness or that she

13      should be detained.

14                 So if what Pretrial Services office is requiring

15      is that she not be supervised, I think under the

16      circumstances, given that she's such a public person in her

17      community -- that is, she runs a restaurant which is well

18      known, she's there so many hours a week, that given the

19      nature of the charges against her, she has no prior

20      convictions.    I know that her sister wrote a letter when we

21      were in front of Magistrate Faruqui which is very

22      complimentary of her work.

23                 So I would suggest to the -- I would recommend --

24      I would request that the Court not revoke, that reduce

25      the -- if what Pretrial is asking is that she not have any
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                                                                           20

1       supervision, I would submit to the Court that she could be

2       on unsupervised until she shows that she's not going to show

3       up for court.    But she has shown up even though, as she's

4       explained, it's a hardship for her to show up.

5                  THE COURT:    Thank you, ma'am.

6                  Ms. Bauer, you have a very powerful advocate on

7       your behalf whether you want her or not.         I understand

8       you're a small business owner.       I don't want to have to lock

9       you up.   I don't want you to lose your restaurant.          Frankly,

10      I'm not terribly concerned about you being a danger to the

11      community, but I am very concerned about you being willing

12      to follow the conditions that this Court imposes.

13                 Are you willing to maintain contact with

14      Probation?

15                 DEFENDANT BAUER:     Does that put me in a tacit

16      agreement, sir?

17                 THE COURT:    Ma'am, I don't know what a tacit

18      agreement is.    What I'm asking you to do --

19                 DEFENDANT BAUER:     I gave you an affidavit that

20      explained all of that.

21                 THE COURT:    All right.    Ma'am, that's a decision

22      you've got to make.     I'm asking you are you willing to do

23      what I'm telling you to do?

24                 DEFENDANT BAUER:     I feel that it's a violation of

25      my rights, sir.
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                                                                            21

1                  THE COURT:    Okay.    Under the Bail Reform Act, a

2       judicial officer must find that there is clear and

3       convincing evidence that a person has violated any other

4       condition of release.      I do find so in this case.      I find

5       that the defendant has repeatedly failed to maintain contact

6       with Probation as directed by this Court.         I also find that

7       the defendant has failed to allow for a home inspection as

8       specifically directed by this Court.        I also find that

9       the --

10                 DEFENDANT BAUER:      May I interject here?

11                 THE COURT:    Ma'am, you need to sit down.

12                 DEFENDANT BAUER:      Mr. Blauser agreed to a home

13      inspection --

14                 THE COURT:    Ma'am, you need to sit down now.

15                 DEFENDANT BAUER:      -- and something came missing

16      out of his home.

17                 THE COURT:    I find that the defendant is unlikely

18      to abide by any condition or combination of conditions of

19      release.   I don't like doing this, I feel bad for you,

20      ma'am, but you've made clear throughout that you believe

21      you're above the law, and we can't allow that.          I find that

22      your release should be revoked.        I'll ask you to -- I'll ask

23      the marshals to take you into custody.

24                 DEFENDANT BAUER:      No.   You can shoot me on the way

25      out the door, I'm not going back to jail.         No.   Let go of
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                                                                           22

1       me.   Let me go.    Why are you doing this?      Why?   What is

2       wrong with you?     What is wrong with you?      Why are you doing

3       this?   This is so unconstitutional.

4             (Defendant Bauer taken into custody and no longer

5               present in the courtroom)

6                  THE COURT:    All right.

7                  MS. HERNANDEZ:     Your Honor?

8                  THE COURT:    Yes, Ms. Hernandez.

9                  MS. HERNANDEZ:     May I ask that the Court stay its

10      order until an appeal is taken, or maybe come back later

11      this afternoon and let her see -- I mean, as I understand

12      what the Court is asking, is for her to make a phone call to

13      Pretrial Services once a week or twice -- whatever number of

14      times, which she should be able to do.         And also I guess

15      some sort of virtual of her home.        I mean, I would say her

16      home was searched by the FBI, so it's not like it hasn't

17      been, I don't know, examined.

18                 But I don't know if the Court is willing to just

19      let her sit for a while and then come back and hold another

20      hearing, because otherwise she's there over the weekend.

21                 THE COURT:    Thank you, Ms. Hernandez.       I

22      appreciate your advocacy.      I think the problem is not the

23      home inspection, the problem is that she is not willing to

24      do what I direct her to do.       I don't have any confidence

25      that she is going to maintain any conditions of release.
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                                                                            23

1                  So I do want to talk about discovery, though.

2       Ms. Bauer is now going to be incarcerated.         Is there any

3       reason you can't be turning over, Ms. Fretto, discovery to

4       Ms. Hernandez and Ms. Hernandez making it available to her

5       at the D.C. jail?

6                  MS. FRETTO:     Your Honor, of course Ms. Bauer has

7       not signed attachment A, so we would ask that Ms. Hernandez

8       abide by the terms of the protective order and not send

9       those highly sensitive materials to Ms. Bauer without her

10      first signing the form.

11                 THE COURT:    What are you concerned about with her

12      being in jail?

13                 MS. FRETTO:     Your Honor, the Government's serious

14      concerns here have to do with the privacy, safety and

15      security of the witnesses and victims whose private

16      information is on these materials.        So I guess there are two

17      points the Government's trying to make here.          One, we are

18      developing a system for defendants to review highly

19      sensitive material in the jail without being provided with a

20      physical copy.    We're working on a means for them to view

21      that on a system, and so they will have the ability to do

22      that.

23                 However, in my e-mail correspondence with

24      Ms. Hernandez, Ms. Hernandez wanted to forward e-mail those

25      highly sensitive materials to the defendant.          We do not want
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                                                                               24

1       that to happen, because we do not have any faith that

2       Ms. Bauer will not publicize or publicly release all of that

3       very sensitive, private information.

4                  THE COURT:    How can she do that at the jail?

5                  MS. FRETTO:     Your Honor, it is my understanding

6       that the -- that individuals are able to write letters and

7       are able to communicate electronically while at the jail.

8       So if she is given a hard copy of a highly sensitive

9       document that does happen to contain PII, for example -- and

10      I have personally reviewed hundreds of documents that are in

11      this case, and it does include home addresses for

12      individuals who have submitted tips in this case.          So if

13      Ms. Bauer were to get a physical copy, she could then mail

14      that to whoever she wanted.       But we are developing a system,

15      and so that way individuals can view that information from a

16      secure location.

17                 THE COURT:    All right.    Ms. Hernandez, what's your

18      thought on how we can make sure --

19                 MS. HERNANDEZ:     So the Government's description is

20      not accurate.    I have actually set up through the

21      Administrative Office of the U.S. Courts federal defender's

22      system a box of -- an online box similar to what the

23      Government uses.     And I have -- and they have set it up so

24      that Ms. Bauer would be able to view but not download.            So

25      as to the highly sensitive materials -- I mean, she could --
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1       it's true she could copy down information and release it

2       that way.    But I am not asking to e-mail to her the highly

3       sensitive materials.     Number two, some of the highly

4       sensitive -- or much of the highly sensitive materials are

5       the CCTV videos from inside the Capitol.         I would note that

6       the Chief Judge has been releasing those to the media as

7       they get introduced or attached as exhibits.          So even though

8       the Government's position is this is highly sensitive, in

9       fact it's getting out there.

10                  With respect to what could happen at the jail, I

11      was just in -- I have a defendant in the Oath Keepers

12      conspiracy which is a 20-defendant case.         Ms. Peterson, the

13      first assistant public defender, has been working on all

14      this discovery very closely.       This is what she said

15      yesterday with respect to review of discovery at the jail.

16      With respect to electronic materials, if we, defense

17      counsel, mail it to the jail, they will make it available to

18      the defendants within four to six weeks after they receive

19      the electronic material.      But the jail only has 12 laptops

20      for all of the defendants who need to view discovery.

21                  And the discovery in these cases -- the videos are

22      extensive.    I mean, as she described it, I think we're going

23      to continue that trial because of the inability of the jail

24      defendants to view the discovery.        Just there's not enough

25      laptops, there's not enough time.        I don't know how much --
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1       how long these videos are, but my understanding is there

2       could be hundreds of hours of videos.

3                   And with respect to the -- so with respect to the

4       highly sensitive stuff, if it's about redacting information,

5       I would ask the Government to redact personal information.

6       Give me the same information, redact what they believe to be

7       highly sensitive so that she can have a copy.          And

8       attachment A, obviously, Your Honor, she's not willing to

9       sign these things.     But I would submit that my understanding

10      of the record -- the protective order requires that the

11      person -- the defendant sign this attachment and then file

12      it with the Court.     The co-defendant in this case has not

13      filed -- I mean, maybe he has signed it and maybe it has

14      been forwarded to the prosecutors, but he has not signed it

15      and he's getting highly sensitive materials.

16                  I would hope that there's a way to resolve it.

17      The least possible way to resolve it is by allowing -- with

18      her in jail.    I'm just telling the Court that I don't have a

19      client in jail right now that requires January 6th

20      materials.    But from those attorneys in the Oath Keepers

21      case, particularly Ms. Peterson, it's impossible to allow

22      them to review the extensive materials that is being

23      produced.    There's just -- the jail is not set up for it.

24                  THE COURT:   Okay.    Thank you, ma'am.     So first I

25      want to note for the record Ms. Bauer has been removed.           She
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                                                                             27

1       was making repeated outbursts, talking over me, and the

2       marshals had to remove her from the courtroom.          I'm not

3       going to make any decisions right now given that she's out

4       of the courtroom.

5                  I do think -- I mean, Ms. Fretto, you face a bit

6       of a conundrum here.     Regardless of the difficulty of any

7       other prisoner having access to materials in jail, you have

8       asked to lock up someone who is self-represented and who's

9       refusing to sign your form.       We've got to figure out some

10      way to get her the material that she's entitled to while

11      she's in custody.

12                 MS. FRETTO:     May I?

13                 THE COURT:    I'm happy to hear from you.

14                 MS. FRETTO:     If I may make three points.       The

15      first point being over the last week, I have reviewed

16      hundreds of documents, and I've identified a very large

17      subset of documents that I do think that I can redact in

18      such a way that they can be produced as not sensitive.             Now,

19      these documents are the documents that pertain most directly

20      to Ms. Bauer's case.     So I will take on that responsibility,

21      and we will make those redactions.        And then we will provide

22      that material not designated under the protective order so

23      that way she can have those materials.

24                 However, there is a larger universe.         Because

25      there are hundreds and hundreds of defendants in this case,
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                                                                          28

1       there are additional materials that are going to be ingested

2       into this database that do contain home addresses, PII, and

3       that does put at risk the privacy, safety and security of

4       those witnesses and victims.       So the Government would ask

5       that if Ms. -- if the defense is asking that Ms. Bauer not

6       have to sign attachment A, then they file a motion to

7       modify.    So that way the Government has an opportunity to

8       provide a written response, a thorough response, to the

9       Court about why that will not be sufficient.

10                 And two, we would ask that if the defense is now

11      making arguments that access to discovery is not sufficient

12      or somehow impedes their rights under the Constitution, that

13      they file a motion so that the Government can provide the

14      Court with a written, fulsome response.         Because we do have

15      arguments to all of these, and we do have a process in place

16      that I think the Court will be amenable to and agree that

17      the Government is in fact getting the discovery necessary to

18      these defendants.

19                 THE COURT:    Okay.    So let's see where we are at

20      the end of October, but kind of recognizing that Ms. Bauer

21      is not going -- is now locked up.        She's representing

22      herself.   You need to make sure that she's getting the

23      information that she needs.

24                 Mr. Barbari?

25                 MR. BARBARI:     Yes, Your Honor, just one quick
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                                                                          29

1       logistical thing.     May Mr. Blauser still appear remotely for

2       the October 26th (sic) hearing?

3                  THE COURT:    Yes, he may.

4                  MR. BARBARI:     Thank you, Your Honor.

5                  THE COURT:    All right.    Anything further from you,

6       Mr. Barbari?

7                  MR. BARBARI:     No, Your Honor.

8                  THE COURT:    Ms. Fretto?

9                  MS. FRETTO:     Nothing further.     Thank you, your

10      Honor.

11                 THE COURT:    And Ms. Hernandez?

12                 MS. HERNANDEZ:     Your Honor, would the Court

13      consider setting in a review of detention early next week?

14      I'm going to try to talk to her and see if she'll consent to

15      the conditions that the Court imposed, which is to allow the

16      home inspection and to contact Pretrial Services on a weekly

17      basis by phone.

18                 THE COURT:    I'm not going to set anything now, but

19      I'm happy to review a motion for reconsideration.

20                 Thanks folks, have a good weekend.

21           (Proceedings adjourned at 11:14 a.m.)

22

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1                    18/7 22/14 24/6           1/11                  1/18 2/14 2/18 2/19
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10:37 [1] 1/6       above [2] 21/21            2/15 2/18            bill [1] 8/18
11:14 a.m [1] 29/21 30/5                      appreciate [1]        bit [1] 27/5
12 [1] 25/19        above-entitled [1]         22/22                BLAUSER [10] 1/6
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14 [2] 18/10 19/8   access [7] 5/24            12/12 16/23 17/1      29/1
14th [1] 11/21       6/11 6/12 13/13          appropriate [3]       blocks [1] 14/7
15 [1] 18/11         13/14 27/7 28/11          11/1 12/4 13/23      blood [1] 4/20
17 [1] 1/5          account [1] 8/23          arguments [4] 3/20    boiled [1] 3/22
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2                    24/20                    arresting [1] 18/13   brought [1] 7/9
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20-defendant [1]    additional [5] 5/23        15/24                business [5] 9/23
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21-386 [1] 2/2       24/21                    attorneys [2] 5/21  called [1] 3/23
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24 [1] 18/10        advocacy [1] 22/22        August [1] 15/24     21/15
26th [1] 29/2       advocate [1] 20/6         authority [3] 3/21  can [17] 3/22 11/2
29th [4] 10/11      affidavit [2] 11/20        3/25 12/18          11/4 11/8 14/9
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2:00 p.m [4] 10/11 affidavits [1]              5/23 6/5 9/2 10/12  21/24 24/4 24/15
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4                   agreement [5] 13/9        bad [1] 21/19        13/4 21/4 24/11
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7                   AMERICA [2] 1/3 2/3        23/6 23/9 24/2     challenging [2]
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A                   AOC [1] 14/7               3/18 4/14 9/20      19/11
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